oOo ON DO oa FF WwW DY —

NO RO PR PO NP PN PNP PMO NMO - AS Aa Ba a a eS eo Ss |
oN OD oO FBP WO NY | DOD oO WON DO a FR WO NY | CO

 

Case 2:20-cv-02366-PA-AGR Document 60 Filed 11/29/21 Page 1of1 Page ID #:328

JS-6
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
DANIEL DEALBA, NO. CV 20-2366-PA (AGR)

Plaintiff,
JUDGMENT
V.

WARDEN R.C. JOHNSON, et al.,

Defendants.

 

Pursuant to the Order of Dismissal,
IT |S ADJUDGED that Judgment is entered for Defendants and this action is

dismissed without prejudice for failure to prosecute

DATED: November 29, 2021

 

UNITED |STATES DISTRICT JUDGE

 
